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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                                (Northern Division)

UNITED STATES OF AMERICA :
                         :
          Plaintiff,     :
                         :
v.                       :                   Case Number: CCB 16-CR-0267
                         :
SHAKEEN DAVIS,           :
                         :
          Defendant.     :
                         :

               NOTICE OF INTENT TO INTRODUCE
   PRIOR CONVICTIONS OF ANY AND ALL GOVERNMENT WITNESSES

       Comes now SHAKEEN DAVIS through counsel and pursuant to Fed. R. Evid.

609 and gives notice to the government of his intent to introduce evidence of any

government witness’s prior convictions. In addition, Mr. DAVIS intends to introduce

those convictions of government witnesses that exceed the limitations period described at

Fed. R. Evid. 609(b) if the conviction involves an act that goes directly to the honesty or

credibility of the witness.



                                             Respectfully submitted,
                                             ANTHONY D. MARTIN


                                     By:     /S/ Anthony D. Martin
                                             Anthony D. Martin, 5224
                                             GREENWAY CENTER OFFICE PARK
                                             7501 Greenway Center Drive, Ste 460
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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the Notice of Intent to Introduce Prior

Convictions was sent electronically to the following individual(s):


                               Christina A Hoffman, AUSA
                               US Attorney's Office
                               District of Maryland
                               36 South Charles Street, Suite 400
                               Baltimore, MD 21201

                               Jason Daniel Medinger, AUSA
                               Office of the United States Attorney
                               36 South Charles Street, Sutie 400
                               Baltimore, MD 21201

                               Daniel Charles Gardner, AUSA
                               United States Attorney's Office
                               6406 Ivy Lane, Ste 800
                               Greenbelt, MD 20770



On this Wednesday, April 26, 2017


                                       By:     /s/ Anthony D. Martin
                                               ANTHONY D. MARTIN, 5224
